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18
                                     UNITED STATES DISTRICT COURT
19                                 NORTHERN DISTRICT OF CALIFORNIA
20
       ANIBAL RODRIGUEZ, SAL CATALDO,                            Case No.: 3:20-cv-04688-RS
21     JULIAN SANTIAGO, and SUSAN LYNN
       HARVEY individually and on behalf of all                  DECLARATION OF MARK MAO IN
22     other similarly situated,                                 OPPOSITION TO GOOGLE’S MOTION
                                                                 TO EXCLUDE OPINION OF MICHAEL
23                       Plaintiffs,                             J. LASINSKI
        v.
24
                                                                 Judge: Hon. Richard Seeborg
25     GOOGLE LLC,                                               Courtroom 3 – 17th Floor
                                                                 Date: October 5, 2023
26                       Defendant.                              Time: 1:30 p.m.
27

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       __________________________________________________________________________________________________________________
                     DECLARATION OF MARK MAO IOT GOOGLE’S MOTION TO EXCLUDE LASINSKI
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1                                         DECLARATION OF MARK MAO

2              I, Mark Mao, declare as follows.

3              1.       I am a partner with the law firm of Boies Schiller Flexner LLP, counsel for Plaintiffs

4     in this matter. I am an attorney at law duly licensed to practice before all courts of the State of

5     California. I have personal knowledge of the matters set forth herein and am competent to testify.

6              2.       I submit this Declaration in connection with Plaintiffs’ opposition to Google’s

7     motion to exclude the opinions and testimony of Michael J. Lasinski.

8              3.       Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the

9     deposition transcript of Michael J. Lasinski, taken June 29, 2023.

10             4.       Attached hereto as Exhibit 2 is a true and correct copy of a Google webpage

11    published on June 23, 2020, titled “How our display buying platforms share revenue with

12    publishers.”             This           webpage                is         publicly            available            at

13    https://blog.google/products/admanager/display-buying-share-revenue-publishers/.

14             5.       Attached hereto as Exhibit 3 is a true and correct copy of excerpts from Google’s

15    Rebuttal Expert Report of Christopher R. Knittel, dated May 31, 2023.

16             6.       Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the

17    deposition transcript of John R. Black, taken July 14, 2023.

18             7.       Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the

19    deposition transcript of Christopher R. Knittel, taken July 11, 2023.

20             8.       Attached hereto as Exhibit 6 is a true and correct copy of a document Google

21    produced in discovery labeled GOOG-RDGZ-00052784.

22             9.       Attached hereto as Exhibit 7 is a true and correct copy of a document Google

23    produced in discovery labeled GOOG-RDGZ-00188469.

24             10.      Attached hereto as Exhibit 8 is a true and correct copy of excerpts from the

25    deposition transcript of Jonathan R. Hochman, taken June 26, 2023.

26             11.      Attached hereto as Exhibit 9 is a true and correct copy of a document Google

27    produced in discovery labeled GOOG-RDGZ-00028472.

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                    DECLARATION OF MARK MAO IOT GOOGLE’S MOTION TO EXCLUDE LASINSKI
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1              12.      Attached hereto as Exhibit 10 is a true and correct copy of International Valuation

2     Standards published by the International Valuation Standards Council, effective January 31, 2022.

3              13.      Attached hereto as Exhibit 11 is a true and correct copy of Exploring the

4     Economics of Personal Data: A Survey of Methodologies for Measuring Monetary Value,

5     published by the Organization for Economic Co-operation and Development on April 2, 2013.

6     This document is also publicly available at https://www.oecd-ilibrary.org/science-and-

7     technology/exploring-the-economics-of-personal-data_5k486qtxldmq-en.

8              14.      Attached hereto as Exhibit 12 is a true and correct copy of excerpts from the

9     deposition transcript of Donna R. Hoffman, taken July 11, 2023.

10             15.      Attached hereto as Exhibit 13 is a true and correct copy of a letter sent by Eduardo

11    Santacana, counsel for Google, to Beko Reblitz-Richardson, counsel for Plaintiffs, on December

12    31, 2020.

13             I declare under penalty of perjury under the laws of the United States of America that the

14    foregoing is true and correct. Executed this 7th day of September 2023, at San Francisco, California.

15                                                                    /s/ Mark Mao
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                  DECLARATION OF MARK MAO IOT GOOGLE’S MOTION TO EXCLUDE LASINSKI
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